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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     CARRIE MARIE SULAK
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CR. S-04-0218 MCE
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )
                                     )
15   CARRIE MARIE SULAK, et al.      )     Date: August 30, 2005
                                     )     Time: 8:30 a.m.
16                  Defendants.      )     Judge: Hon. Morrison C. England
                                     )
17   _______________________________ )
18        It is hereby stipulated and agreed to between the United States of
19   America though Phil Ferrari, Assistant U.S. Attorney; defendant, CARRIE
20   MARIE SULAK, by and through her counsel, Dennis S. Waks, Supervising
21   Assistant Federal Defender; and defendant, JOSEPH W. MCALLISTER, by and
22   through his counsel, William J. Portanova, that the status conference
23   of July 26, 2005 be vacated and a further status conference be set for
24   August 30, 2005 at 8:30 a.m.
25        This continuance is being requested because the parties are
26   negotiating a plea agreement and need time to reduce it to writing and
27   provide it to the Court.    Both Defense counsel need time to discuss the
28   plea with the prosecutor and with the defendants.
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1         Further, defense counsel, Rachelle Barbour, went out on maternity
2    leave in June, and Supervising Assistant Federal Defender, Dennis S.
3    Waks, took over this case and needs more time to review the file and
4    familiarize himself with the case.
5         Speedy trial time is to be excluded from the date of this order
6    through the date of the status conference set for August 30, 2005,
7    pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 based upon
8    continuity of counsel and defense preparation.
9    Dated:    July 22, 2005
                                               Respectfully submitted,
10
                                               QUIN DENVIR
11                                             Federal Defender
12
                                               /s/ Dennis S. Waks
13                                             ________________________________
                                               DENNIS S. WAKS
14                                             Supervising Assistant Federal
                                               Defender
15                                             Attorney for Defendant
                                               CARRIE MARIE SULAK
16
17                                             /s/ Dennis S. Waks for
                                               _________________________________
18                                             WILLIAM J. PORTANOVA
                                               Attorney for Defendant
19                                             JOSEPH W. MCALLISTER
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              Case 2:04-cr-00218-MCE Document 68 Filed 07/28/05 Page 3 of 3


1    Dated:    July 22, 2005
2                                              MCGREGOR W. SCOTT
                                               United States Attorney
3
                                               /s/ Dennis S. Waks for
4                                              _________________________________
                                               PHIL FERRARI
5                                              Assistant U.S. Attorney
6                                         O R D E R
7    IT IS SO ORDERED.
8    Dated: July 27, 2005
9
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                                             _____________________________
11
                                             MORRISON C. ENGLAND, JR
12                                           UNITED STATES DISTRICT JUDGE

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